Roberta Pittman, Petitioner, v. Commissioner of Internal Revenue, RespondentPittman v. CommissionerDocket No. 22827United States Tax Court14 T.C. 449; 1950 U.S. Tax Ct. LEXIS 250; March 21, 1950, Promulgated *250 Decision will be entered for the respondent.  The petitioner is transferee of a corporation dissolved in 1945.  In 1947, based on a stipulation of the parties, this Court entered its decision that the dissolved corporation owed an additional tax on its 1945 income and that the petitioner, as transferee, was liable therefor.  In 1947 the petitioner paid this additional tax.  On May 17, 1946, petitioner filed her income tax return for 1945, reporting a gain on the liquidation of the corporation of $ 19,686.91.  The respondent determined that this gain should have been $ 21,669.61.  In so doing, the respondent refused to allow petitioner to deduct, from the gain on the liquidation of the corporation, taxes on the 1945 income of the corporation paid by petitioner as transferee in 1947.  Held, the corporation income tax paid by the petitioner in 1947 can not be used as a deduction in the computation of the petitioner's income tax for 1945.  Charles E. Pratt, Esq., for the petitioner.D. Louis Bergeron, Esq., and Joseph P. Crowe, Esq., for the respondent.  Van Fossan, Judge.  VAN FOSSAN *449  The respondent determined a deficiency of $ 774.32 in the petitioner's *251  income tax liability for the year 1945.*450  The sole issue is whether or not the petitioner, as transferee of a dissolved corporation, is entitled to deduct the Federal income tax on the corporation paid by her in 1947 from the gain realized in 1945 on the liquidation of the corporation.The case was submitted on a stipulation of facts, exhibits, and oral testimony.FINDINGS OF FACT.The facts stipulated are so found.  The other facts are found from the evidence.The petitioner is an individual and a resident of Corpus Christi, Texas.  She filed her individual income tax returns on the cash receipts and disbursements basis of accounting with the collector of internal revenue for the first district of Texas.The Eureka Laundry Co., sometimes referred to hereinafter as the corporation, was organized in 1920 as a corporation under the laws of Texas, to operate a laundry and dry-cleaning establishment.  The petitioner owned all the capital stock of the corporation except the minimum qualifying shares.  The corporation kept its books and filed its returns on the accrual basis of accounting.For a number of years the petitioner had been interested in disposing of the laundry business. *252  Sometime in 1944 the petitioner, as president of the corporation, began negotiations with a view towards its sale.On March 27, 1945, it was resolved to liquidate and dissolve the corporation.  On March 28, 1945, the Secretary of State of Texas issued a certificate of dissolution.On April 2, 1945, but as of the close of business on March 31, 1945, the petitioner, as transferee, sold the business properties and good will of the dissolved corporation.In connection with the dissolution of Eureka Laundry Co., the petitioner was advised by her attorney that she might be held liable as transferee of the dissolved corporation for any Federal income tax deficiency asserted against the corporation.In the fall of 1945 the petitioner's attorney was advised by an agent of the respondent that a tax would be asserted against the corporation and against the petitioner as transferee, due to an alleged deficiency in the tax on the corporation.On February 21, 1946, the respondent notified the petitioner and the corporation, in separate thirty-day letters, that an adjustment in the corporation's tax liability for 1945 appeared to be warranted and that there was proposed for assessment against petitioner*253  the tax liability of the corporation.On June 20, 1946, the respondent, in a statutory notice, notified the corporation of his determination that the gain from the sale of its *451  property was taxable to the corporation and that incident to that sale the gain was understated, resulting in a net deficiency in the income tax liability of the corporation of $ 2,620.69 for the taxable year January 1 to March 28, 1945.In a statutory notice also dated June 20, 1946, the respondent notified the petitioner of his determination that the petitioner was liable for the deficiency as transferee of assets of the corporation.Both the petitioner and the corporation petitioned this Court for a redetermination of their tax liabilities.  On April 14, 1947, based on a stipulation filed by the parties, this Court entered its decision that the corporation owed a tax of $ 2,620.69 (Docket No. 12049), and that the petitioner was liable therefor (Docket No. 12048).No appeals were taken from these decisions and on or about August 20, 1947, the petitioner, as transferee, paid the deficiency in tax, with interest, a total of $ 2,921.46.  On May 17, 1946, the petitioner filed her individual income tax*254  return for 1945, reporting a gain of $ 19,686.91 on the liquidation of the corporation.  After an examination of her 1945 return, the respondent determined that this gain should have been $ 21,669.61.  In so doing, the respondent refused to allow the petitioner to reduce the gain on the liquidation of the corporation by the amount of the taxes on the 1945 income of the corporation paid by the petitioner as transferee in 1947.OPINION.The sole issue is whether or not the petitioner, as transferee of the dissolved corporation, is entitled to deduct the Federal income tax on the corporation paid by her in 1947 from the gain realized in 1945 on the liquidation of such corporation.The petitioner contends that she should be allowed to decrease the value of the assets which she received upon dissolution of the corporation by the amount of taxes which, as transferee, she paid in a later year.  Thus, as the petitioner sees the issue, it involves the adjustment or redetermination of the amount of the capital gain. This view, we believe to be incorrect.  Since she, as an individual, is on a cash basis of accounting, there can be no question of the proper accrual of the tax paid in the prior*255  year.The collection of Federal taxes in the United States contemplates an annual accounting by taxpayers.  In , the Supreme Court said:It is the essence of any system of taxation that it should produce revenue ascertainable, and payable to the government, at regular intervals.  Only by such a system is it practicable to produce a regular flow of income and apply methods of accounting, assessment, and collection capable of practical operation.*452  This principle is now a familiar one and has often been stated and applied.  See , and cases there cited.There is no basis for making an exception to this sound principle in the instant case of a transferee of the assets of a corporation.  If it were done here, other exceptions would suggest themselves.  If the petitioner's contention, that the capital gain should be adjusted, were to be followed, the result would be to hold in abeyance the final determination of the capital gain on a corporate dissolution until the final corporate income tax had been paid.  This*256  would place an unwarranted burden on the tax collection process.The petitioner would distinguish the case of , cited by respondent, on the ground that there the taxpayer received the liquidating dividend without restriction or limitation on its use, whereas petitioner here knew that she would be taxed personally as transferee if a deficiency were asserted against the income of the dissolved corporation.  In our opinion, the cases are not distinguishable on that narrow ground or on the fortuitous circumstance that we happen to have before us the year 1945.  In  (on appeal, CA-3, Dec. 29, 1949), the facts were somewhat similar to the instant case.  The holding there was that the tax payments made by transferees in a year subsequent to dissolution were deductible in the later year as ordinary losses and not as capital losses.  In so holding, we said:Prior to the decision of the Supreme Court of the United States in , this Court, then the United States Board of Tax Appeals, *257  held in cases involving facts similar to those in the instant proceeding that the corporate taxes paid by transferees in a year subsequent to the receipt of distributions in liquidation should be treated as reducing the amount of those distributions rather than as a loss in the year the corporate taxes were paid.  ; . * * * In , the Board pointed out that , overruled the Barker and O'Neal cases, and it held that a participant in a syndicate who reported his profits in 1928 and 1929 and was required to contribute in 1937 to pay taxes due from the syndicate was entitled to deduct the amount paid in 1937 as a loss * * *.In our opinion, the tax on the corporation paid by the petitioner in 1947 can not be used as a deduction in the computation of the petitioner's income tax for 1945.Decision will be entered for the respondent.  